      Case 3:11-cv-30039-MGM Document 633 Filed 06/25/15 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS

_____________________________________________
                                              )
MASSACHUSETTS MUTUAL LIFE INSURANCE           )
COMPANY,                                      )   Civil Action No. 3:11-30039-MGM
                                              )
                        Plaintiff,            )
                                              )   Oral Argument Requested
            v.                                )
                                              )
DB STRUCTURED PRODUCTS, INC., et al.          )
                                              )
                        Defendants.           )
_____________________________________________ )



   DEFENDANTS’ MOTION TO STRIKE THE SUPPLEMENTAL OPINIONS OF
      STEVEN I. BUTLER REGARDING NEW “DEFECT FINDINGS” AND
    CHARLES D. COWAN’S SUPPLEMENTAL OPINIONS BASED ON SUCH
                            FINDINGS
        Case 3:11-cv-30039-MGM Document 633 Filed 06/25/15 Page 2 of 4




       Defendants Deutsche Bank Securities Inc., Anilesh Ahuja, Michael Commaroto, Richard

D’Albert, and Richard Ferguson (together “Defendants”) hereby move to strike the additional

reasons and explanations as to why loans reviewed by Mr. Steven I. Butler purportedly have

material underwriting defects (the “New Defect Findings”) and any evidence of extrapolations

by Dr. Charles D. Cowan based on them, dated June 12, 2015.

       This Motion is based upon Defendants’ accompanying Memorandum of Law In Support

of Defendants’ Motion to Strike the Supplemental Opinions of Steven I. Butler Regarding New

“Defect Findings” and Charles D. Cowan’s Supplemental Opinions Based on Such Findings, the

Declaration of David J. Woll and exhibits thereto, pleadings on file in this action, any matters of

which the Court may take judicial notice, and any such further evidence or argument as may be

presented on this Motion.

                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(D), Defendants request oral argument on this Motion.

                             LOCAL RULE 7.1 CERTIFICATION

       I, Kathy B. Weinman, certify that counsel for Defendants have conferred with counsel for

Plaintiff and attempted in good faith to resolve or narrow the issues raised in this motion.

Dated: June 25, 2015
                                          By: /s/ Kathy B. Weinman
                                             Kathy B. Weinman (BBO #541993)
                                             Azure M. Aronsson (BBO #670325)
                                                 COLLORA LLP
                                                 100 High Street, 20th Floor
                                                 Boston, Massachusetts 02110
                                                 Telephone: (617) 371-1000
                                                 Fax: (617) 371-1037
                                                 kweinman@collorallp.com
                                                 aaronsson@collorallp.com

                                              Of Counsel:
Case 3:11-cv-30039-MGM Document 633 Filed 06/25/15 Page 3 of 4




                            Thomas C. Rice (admitted pro hac vice)
                            David J. Woll (admitted pro hac vice)
                            William T. Russell, Jr. (admitted pro hac vice)
                            Alan Turner (admitted pro hac vice)
                            Erika H. Burk (admitted pro hac vice)
                            Meredith C. Duffy (admitted pro hac vice)

                               SIMPSON THACHER & BARTLETT LLP
                               425 Lexington Avenue
                               New York, New York 10017
                               Telephone: (212) 455-2000
                               Fax: (212) 455-2502
                               trice@stblaw.com
                               dwoll@stblaw.com
                               wrussell@stblaw.com
                               aturner@stblaw.com
                               eburk@stblaw.com
                               mduffy@stblaw.com

                            Counsel for Defendants Deutsche Bank Securities
                            Inc., Anilesh Ahuja, Michael Commaroto, Richard
                            D’Albert and Richard Ferguson




                               2
        Case 3:11-cv-30039-MGM Document 633 Filed 06/25/15 Page 4 of 4




                                CERTIFICATE OF SERVICE

I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) on June 25, 2015.

                                             /s/ Kathy B. Weinman
                                               Kathy B. Weinman




                                                 3
